    Case 17-12205        Doc 1282        Filed 12/31/18 Entered 12/31/18 14:44:49                       Desc Main
                                         Document      Page 1 of 2



                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS
                                         (Eastern Division)


    In re
                                                                Chapter 11
    CASHMAN EQUIPMENT CORP.,1
                                                                Case No. 17-12205-MSH
                            Debtor
                                                                Jointly Administered


       NOTICE OF (A) CONFIRMATION OF JOINT PLAN OF REORGANIZATION
       OF CASHMAN EQUIPMENT CORP., CASHMAN SCRAP & SALVAGE, LLC,
       SERVICIO MARINA SUPERIOR, LLC, CASHMAN CANADA, INC., MYSTIC
      ADVENTURE SAILS, LLC, AND JAMES M. CASHMAN, (B) EFFECTIVE DATE,
       AND (C) DEADLINES FOR FILING ADMINISTRATIVE EXPENSE CLAIMS,
    PROFESSIONAL FEE CLAIMS, AND LEASE AND CONTRACT REJECTION CLAIMS

PLEASE TAKE NOTICE THAT:

        1.      Confirmation of Plan. By order dated December 14, 2018 (the “Order”), the United
States Bankruptcy Court for the District of Massachusetts (the “Court”) confirmed the Modified
Third Amended Joint Plan of Reorganization of Cashman Equipment Corp., Cashman Scrap &
Salvage, LLC, Servicio Marina Superior, LLC, Cashman Canada, Inc., Mystic Adventure Sails, LLC,
and James M. Cashman (the “Plan”) [doc. no. 1158]. The Order is available for inspection at the
Office of the Clerk, United States Bankruptcy Court for the District of Massachusetts (Eastern
Division), 5 Post Office Square, Suite 1150, Boston, Massachusetts 02109, and/or copies of the
Order may be obtained upon request to the Debtors’ counsel, Murphy & King, Professional
Corporation, One Beacon Street, Boston, Massachusetts, 02108, Attn: D. Ethan Jeffery, Esq.,
Michael K. O’Neil, Esq., Email: EJeffery@murphyking.com, MOneil@murphyking.com.

        2.       Effective Date; Distribution. The Effective Date (as defined in the Plan) occurred on
December 31, 2018. Creditors holding Allowed Claims or Equity Interests against the Debtors’
estates as of the distribution record date for purposes of the Plan, will be entitled to receive
Distributions in accordance with the terms of the Plan.

        3.      Administrative Expense Claim Bar Date. In accordance with Paragraph 3 of the
Order, any and all applications for reimbursement of expenses incurred before the Effective Date and
all other requests or claims for payment of Administrative Expense Claims incurred before the
Effective Date under Section 507(a)(1) or 507(b) of the Bankruptcy Code other than the Professional
Fee Claims, shall be filed with the Bankruptcy Court on or before thirty (30) days after the Effective
Date, i.e., January 30, 2019, (the “Administrative Expense Claim Bar Date”) and must be the

1
  The debtors in these jointly administered Chapter 11 cases, along with the last four digits of each debtor’s federal
tax identification number, are Cashman Equipment Corp. (7969), Cashman Scrap & Salvage, LLC (6088), Servicio
Marina Superior, LLC (6919), Mystic Adventure Sails, LLC (2137) and Cashman Canada, Inc. (1296).


                                                           1
Case 17-12205        Doc 1282       Filed 12/31/18 Entered 12/31/18 14:44:49              Desc Main
                                    Document      Page 2 of 2



subject of a request filed with the Office of the Clerk, United States Bankruptcy Court for the District
of Massachusetts (Eastern Division), 5 Post Office Square, Suite 1150, Boston, Massachusetts 02109,
and served upon the undersigned counsel to the Debtors so as to be received by the Administrative
Expense Claim Bar Date. Any request for payment of an Administrative Expense Claim that is
subject to the Administrative Expense Claim Bar Date and that is not filed and served on or before
the Administrative Expense Claim Bar Date shall be forever barred; any party that seeks payment of
Administrative Expense Claim and that (i) is required to file a request for payment of such
Administrative Expense Claim and (ii) does not file and serve such a request by the deadline
established herein shall be forever barred from asserting such Administrative Expense Claim against
the Debtors, the Reorganized Debtors, the Debtors’ estates or any of their respective properties.

        4.      Professional Fee Claims. In accordance with Paragraph 4 of the Order, all
applications for final compensation and reimbursement of Professional Fee Claims incurred before
the Effective Date shall be filed on or before thirty (30) days after the Effective Date, i.e., January
30, 2019, (the “Professional Fee Claim Bar Date”), unless otherwise ordered by the Court, and must
be filed with the Office of the Clerk, United States Bankruptcy Court for the District of
Massachusetts (Eastern Division), 5 Post Office Square, Suite 1150, Boston, Massachusetts 02109,
and served upon the undersigned counsel to the Debtors, so as to be received by the Professional Fee
Claim Bar Date.

        5.      Contract/Lease Rejection Claims. All Claims arising from the rejection of executory
contracts or unexpired leases under the Plan must be filed with the Office of the Clerk, United States
Bankruptcy Court for the District of Massachusetts (Eastern Division), 5 Post Office Square, Suite
1150, Boston, Massachusetts 02109, and served upon the undersigned counsel to the Debtors on or
before thirty (30) days following the earlier to occur of: (i) the rejection of such executory contract
or unexpired lease or (ii) the Effective Date. Any such Rejection Claim that is not filed and served
within such time shall be forever barred, and shall not share in any Distributions under the Plan.
The Reorganized Debtors shall have the right to object to any such Rejection Claim.

 Cashman Equipment Corp., Cashman                      James M. Cashman,
 Scrap & Salvage, LLC, Servicio Marina                 By his counsel,
 Superior, LLC, Cashman Canada, Inc., and
 Mystic Adventure Sails, LLC,
 By their counsel


 /s/ D. Ethan Jeffery                                  /s/ Jeffrey D. Sternklar
 Harold B. Murphy, Esq. (BBO #362610)                  Jeffrey D. Sternklar, Esq. (BBO# 549561)
 D. Ethan Jeffery, Esq. (BBO #631941)                  JEFFREY D. STERNKLAR, LLC
 MURPHY& KING, P.C.                                    225 Franklin Street, 26th Floor
 One Beacon Street                                     Boston, MA 02110
 Boston, MA 02108                                      Telephone: (617) 396-4515
 Telephone: (617) 423-0400                             Facsimile: (617) 507-6530
 Email: EJeffery@murphyking.com                        Email: jeffrey@sternklarlaw.com

Dated: December 31, 2018
752423
